 8:05-cr-00138-JFB-TDT                Doc # 51    Filed: 09/02/05       Page 1 of 1 - Page ID # 134



                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                 )
                                                          )               8:05CR138
                         Plaintiff,                       )
                                                          )
        vs.                                               )                 ORDER
                                                          )
GUSTAVO AMBRIZ-SALDANA,                                   )
                                                          )
                         Defendant.                       )



        This matter is before the court on the motion to continue by defendant Gustavo Ambriz-Saldana

(Ambriz-Saldana) (Filing No. 50). Ambriz-Saldana seeks a continuance of the trial of this matter for at least

sixty days. Ambriz-Saldana's counsel represents that counsel for the government has no objection to the

motion. Ambriz-Saldana has submitted an affidavit in accordance with paragraph 9 of the progression

order whereby Ambriz-Saldana consents to the motion and acknowledges he understands the additional

time may be excludable time for the purposes of the Speedy Trial Act. Upon consideration, the motion will

be granted.



        IT IS ORDERED:

        1.      Ambriz-Saldana's motion to continue trial (Filing No. 50) is granted.

        2.      Trial of this matter is re-scheduled for November 7, 2005, before Chief Judge Joseph F.

Bataillon and a jury. The ends of justice have been served by granting such motion and outweigh the

interests of the public and the defendant in a speedy trial. The additional time arising as a result of the

granting of the motion, i.e., the time between September 2, 2005 and November 7, 2005, shall be deemed

excludable time in any computation of time under the requirement of the Speedy Trial Act for the reason

that defendant's counsel requires additional time to adequately prepare the case. The failure to grant

additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).



        DATED this 2nd day of September, 2005.

                                                          BY THE COURT:

                                                          s/ Thomas D. Thalken
                                                          United States Magistrate Judge
